         Case 18-34112 Document 7 Filed in TXSB on 07/31/18 Page 1 of 1




                        UN ITED ST ATE S BA N K R UPT CY C O U RT
                           SO U TH ER N DISTRICT O F TEX AS
                                                                                          ENTERED
                                 H O U STO N DIVISIO N
                                                                                          08/01/2018

IN RE :                                       j
PA RA D IG M TELEC O M Il,LLC                 j       C A SE N O :18-34112
                                              j
        D ebtor                               j       C hapter 11



                       O R D ER SETTIN G STAT US C O N FER EN CE


       On July 27. 2018,the above-styled D ebtorfiled a case underChapter 12 ofthe United
                  -


StatesBankruptcyCode.Pursuanttoj105(d),thisCoul'
                                               thasdeterminedtosuasponteholda
Statusconference in the case,

       Therefore, it is hereby O R D ERED that a status conference w ill be held on
August22,2018 at 10:00 a.m .,Courtroom 600,6tbFloor. The Debtor,plusits attorney,and a
representative from the U nited StatesTrustee's office are directed to appearatsuch status
conference.

        The Clerk'soffice isdirected to send notice ofthisorderto the debtor,debtor'scounsel,
the U nited StatesTrustee,and parties requesting ngtice.

SIGNEDthis 13                   dayofJuly,2018.

                                                     JEFF BO H M
                                           UN ITED STA TE S BA N K R UPT CY JU DG E
